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  IT IS ORDERED as set forth below:




  Date: November 18, 2020
                                                _____________________________________
                                                           Lisa Ritchey Craig
                                                      U.S. Bankruptcy Court Judge
                                   Signed as Revised by the Court
 _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                       :       CASE NUMBER:
                                        :
SUSAN PISTILLO,                         :       10-79803-LRC
                                        :
       Debtor.                          :       CHAPTER 7
________________________________ :
PHH MORTGAGE CORPORATION, SUCCESSOR :
BY MERGER TO OCWEN LOAN SERVICING, LLC :
AS ATTORNEY- IN-FACT FOR DEUTSCHE BANK :
NATIONAL TRUST COMPANY, AS TRUSTEE FOR:
IXIS REAL ESTATE CAPITAL TRUST 2006-HE3 :
MORTGAGE PASS THROUGH CERTIFICATES,     :
SERIES 2006-HE3,                        :
                                        :
     Movant,                            :
                                        :       CONTESTED MATTER
v.                                      :
                                        :
SUSAN PISTILLO,                         :
                                        :
     Respondent.                        :
__________________________________ :


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                                        ORDER

       Before the Court is the Motion to Compel Debtor to Surrender Real Property

Pursuant to Statement of Intention (Doc. 24) (the “Motion”). The Motion was called for

hearing on November 5, 2020, upon Notice of Hearing to Susan Pistillo (“Debtor”).

Appearing on behalf of Movant was Brian K. Jordan. There was no appearance made by

or for Debtor at the call of the calendar. Pursuant to Rule 201 of the Federal Rules of

Evidence made applicable to this proceeding by Rule 9017 of the Federal Rules of

Bankruptcy Procedure, the Court takes Judicial Notice of Exhibits attached to Movant’s

Request for Judicial Notice (“RJN”) filed at Docket Number 25. Debtor has not disputed

the following facts, which are, therefore, deemed admitted:

1. On or about September 26, 2006, Debtor and Michael Marcinanis (together the

“Borrowers”), obtained a loan in the principal amount of $441,000.00, dated September

26, 2006, which was executed by Borrowers (the “Loan”).

2. The Loan is memorialized by a note in the amount of $441,000.00, dated September 26,

2006, which was executed by Borrowers (the “Note”). The original Note is indorsed in

blank without recourse and is in the physical possession of Creditor. See RJN, Exhibit A.

3. As security for the Loan, Borrowers executed, acknowledged, and delivered a mortgage

dated September 26, 2006, in favor of Rose Mortgage, Inc. (the “Mortgage”), encumbering

15 Princeton Avenue, Hewitt, New York 11557 (the “Property”). The Mortgage was duly

recorded in the Office of the Nassau County Clerk on October 17, 2006, under Liber 31098

at Page 692. Id.

4. On January 12, 2009, Rose Mortgage, Inc. executed an Assignment of Mortgage to

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Deutsche Bank National Trust Company, as Trustee for Ixis 2006-HE3 (“DBNTC”), which

was recorded in the Office of the Nassau County Clerk’s Office on June 29, 2009, under

Liber 33996 at Page 971.

5. On June 22, 2014, DBNTC executed an Assignment of Mortgage to Deutsche Bank

National Trust Company, as Trustee for Ixis Real Estate Capital Trust 2006-HE3 Mortgage

Pass Through Certificates, Series 2006-HE3 (“Investor”) recorded on July 17, 2014, under

Liber M39805 at Page 673 in the Office of the Nassau County Clerk’s Office. See Exhibit

B attached to the RJN.

6. PHH Mortgage Corporation (“PHH”), successor by merger to Ocwen Loan Servicing,

LLC (“OLS”), is the current servicer of the Loan held by Investor. See RJN, Exhibit C.

7. On July 6, 2010, Debtor filed a Chapter 7 petition (“2010 Bankruptcy Petition”) in the

United States Bankruptcy Court for the Northern District of Georgia at Case Number 10-

79803-MHM (“2010 Bankruptcy Case”), which stayed a 2008 Foreclosure Action.

8. The 2010 Bankruptcy Petition, Schedule A, listed the Property as her former residence,

and Debtor’s Statement of Intention also identified the Property as “Former Residence”

and stated Debtor’s intention to surrender the Property to Ocwen Loan Servicing, the loan

servicer at the time, as the creditor. Debtor’s Schedule A further reflected the loan was in

default and foreclosure proceedings had begun.

9. Debtor did not claim the Property as exempt and proposed to surrender the Property.

Further, the 2010 Bankruptcy Petition identified Debtor’s address as 312 Addison Lane,

John’s Creek, GA 30005 and listed OLS, the loan servicer at the time, as the holder of a

secured claim based on the Mortgage.

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10. The Chapter 7 Trustee’s Report of No Distribution included the Property as one of the

assets abandoned by the bankruptcy estate.

11. On April 21, 2011, the Bankruptcy Court entered the Discharge of Debtor(s) with Order

Approving Trustee’s Report of No Distribution, Closing Estate and Discharging Trustee

(“2011 Discharge Order”).

12. On July 27, 2016, Debtor filed a Chapter 13 bankruptcy petition (“2016 Bankruptcy

Petition”) in the United States Bankruptcy Court for the Northern District of Georgia, Case

Number 16-62944-CRM (“2016 Bankruptcy Case”). The Chapter 13 2016 Bankruptcy

Case was dismissed and subsequently closed on January 3, 2017. Debtor did not list the

Property in her 2016 Bankruptcy Petition. See RJN, Exhibit E.

13. On August 29, 2008, Creditor’s predecessor-in-interest, DBNTC, commenced an

action to foreclose the Mortgage under Index No. 16378/2008 in Nassau County Supreme

Court, State of New York (the “2008 Foreclosure Action”) by filing a Summons and

Complaint, together with a Notice of Pendency with the Nassau County Clerk’s Office.

Borrowers were duly served with the Summons and Complaint on September 6, 2008. See

RJN, Exhibit F.

14. From September 30, 2008, to the present time, Debtor has actively opposed the 2008

Foreclosure Action. See RJN, Exhibit F, RJN, Exhibit I, RJN, Exhibit N.

15. From February 7, 2017, to the present time, Debtor has actively sought to retain the

Property through a quiet title action pursuant to RPAPL § 1501(4). See RJN, Exhibit J;

RJN, Exhibit M.

16. The Creditor (on behalf of the Investor) subsequently filed a motion to reopen the

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above-captioned closed bankruptcy case (“Motion to Reopen”) to file a motion to (i)

compel the enforcement of Debtor’s surrender of the Property pursuant to her Statement of

Intention, wherein the Debtor represented under penalty of perjury that she would surrender

her rights to the Property; and (ii) hold Debtor in contempt of this Court’s 2011 Discharge

Order. Debtor did not oppose the Motion to Reopen, and this Court granted the Motion to

Reopen on September 24, 2020.

       It appearing that proper notice of the Motion has been provided for Debtor and that

the Court has authority, pursuant to 11 U.S.C. § 521 and § 105(a), to grant the relief

requested by Movant as it pertains to Debtor, see In re Taylor, 2 F.3d 1512 (11th Cir. 1993);

In re Failla, 838 F.3d 1170, 1177 (11th Cir. 2016),

       IT IS ORDERED that the Motion is GRANTED in part, as further described below;

       IT IS FURTHER ORDERED that Debtor shall cease all defense and/or opposition

related to Movant’s efforts to foreclose on the Property including, but not limited to,

withdrawing her: (1) Opposition to Creditor’s Motion to Reargue in the 2008 Foreclosure

Action pending before the New York Supreme Court, Nassau County at Index No.

16378/2008; and (2) Opposition to Creditor’s Appeal from the QT OSC Denial Order

pending before the Second Department under Docket No. 2018-13767;

       IT IS FURTHER ORDERED that Debtor shall (i) either move or execute a

stipulation to vacate the Amended Default Judgment Order discharging the Mortgage in

the 2017 Quiet Title Action pending before the New York Supreme Court, Nassau County

at Index No. 601072/2017, and either move or execute a stipulation to vacate the dismissal

of the Foreclosure Appeal in the 2008 Foreclosure Action pending before the Second

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Department at Docket No. 2020-03001;

      IT IS FURTHER ORDERED that any other relief requested in the Motion is

DENIED.

                               END OF DOCUMENT



Draft Order Prepared and Presented by:

/s/ Brian K. Jordan

Brian K. Jordan, Bar No.: 113008
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